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  7                             UNITED STATES DISTRICT COURT
  8
              CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

  9
      AURELLIANO SANTIAGO,                     )   CASE NO. 2:15-cv-08444 AB
 10   ET AL.,                                  )
                                               )   Hon. Andre Birotte
 11                           Plaintiff(s),    )
                                               )   STATUS REPORT RE:
 12                  vs.                       )   SETTLEMENT
                                               )
 13   CITY OF LOS ANGELES, ET                  )   Action Filed: October 28, 2015
      AL.,                                     )   Trial Date: January 30, 2018
                                               )
 14                                            )
                                               )   Date: None
 15                                            )   Time: None
      Defendant(s).                            )   Ctrm:
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                                     STATUS REPORT RE SETTLEMENT
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  1          The parties previously filed a Joint Notice of Tentative Settlement with the
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      Court. At that time, the parties anticipated that they would be able to complete the
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      settlement no later than December 1, 2017.
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             The settlement requires a four-step process of approval by the City Claims
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      Board, Budget and Finance Committee, full City Council and the Mayor. The
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      settlement has been approved by the Claims Board and the Budget and Finance
  7
      Committee. It is presently scheduled to be considered by the full City Council on
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      Tuesday, December 5, 2017. The parties anticipate that the settlement will be
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      completed by the end of December.
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             Accordingly, the parties request that the Court extend the time to complete
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      the settlement to and through December 30, 2017. If the matter is completed
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      before that date, Plaintiffs will file a dismissal with prejudice.
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 14
      Dated: December 4, 2016                Respectfully submitted,
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 16
                                             ACLU of Southern California
 17
                                             Legal Aid Foundation of Los Angeles
 18                                          National Lawyers Guild-Los Angeles
                                             Schonbrun Seplow Harris & Hoffman, LLP
 19

 20                                                 /s/ Carol A. Sobel                       /
                                             By: CAROL A. SOBEL
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                                             Attorneys for Plaintiffs
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                                     STATUS REPORT RE SETTLEMENT
